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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                Case Nos.:   3:06cr460/MCR/EMT
                                                               3:14cv591/MCR/EMT
DASHANE LAUREL
_________________________________/

                                       ORDER
       This cause comes on for consideration upon the chief magistrate judge’s Report and
Recommendation dated October 29, 2014 (doc. 192). The parties have been furnished
a copy of the Report and Recommendation and have been afforded an opportunity to file
objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made a de
novo determination of any timely filed objections.
       Having considered the Report and Recommendation, and any objections thereto
timely filed, I have determined that the Report and Recommendation should be adopted.
       Accordingly, it is now ORDERED as follows:
       1.    The chief magistrate judge’s Report and Recommendation is adopted and
incorporated by reference in this order.
       2.    Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255 (doc. 191), is
SUMMARILY DISMISSED, as this court lacks jurisdiction to consider a successive motion
absent authorization from the Eleventh Circuit.
       3.    A certificate of appealability is DENIED.
       DONE AND ORDERED this 2nd day of December, 2014.




                                           s/   M. Casey Rodgers
                                           M. CASEY RODGERS
                                           CHIEF UNITED STATES DISTRICT JUDGE
